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1S. ‘ J :
UNITED STATES DISTRICT CouRT 4... TUE Faaatcé

THOMAS A. TRUE,

DISTRICT OF MAINE oct yeURFILED
U.S. BANK TRUST, N.A., AS TRUSTEE ) mg WL 18 AG 2b
FOR LSF9 MASTER PARTICIPATION __ )
TRUST, )
) EP TY CLewk
Plaintiff ) -2:19-ev-00105-LEW
)
Vv. )
)
)
)
)

Defendant
JUDGMENT OF FORECLOSURE AND SALE

Address: 259 Valley Road, North Berwick, ME 03906
Mortgage: March 24, 2009; Book: 15605, Page 157
This matter came before the Court for a testimonial hearing on Plaintiff's Motion for
Default Judgment on July 18, 2019. Plaintiff, U.S. Bank Trust, N.A., as Trustee for LSF9 Master
Participation Trust, was present and represented by Reneau J. Longoria, Esq. Defendant Thomas

A. True did not appear.

All persons interested having been duly notified in accordance with the law, and after
hearing, the Plaintiff's Motion for Default Judgment is GRANTED. Count I] — Breach of Note,
Count If — Breach of Contract, Money Had and Received, Count IV — Quantum Meruit, and
Count V — Unjust Enrichment, are hereby DISMISSED without prejudice at the request of the
Plaintiff. JUDGMENT on Count I - Foreclosure, is hereby ENTERED as follows:

1. Ifthe Defendant or his/her heirs or assigns pays U.S. Bank Trust, N.A., as Trustee for
LSF9 Master and es (“U.S. Bank”) the amount adjudged due and owing
($347,799.11) within
calculated in accordance with 14 M.R.S.A. § 6322, U.S. Bank shall forthwith
discharge the Mortgage and file a dismissal of this action on the ECF Docket. The

days of the date of the Judgment, as that time period is

following is a breakdown of the amount due and owing:
Description Amount

Unpaid Principal Balance $200,466.90
Escrow Balance $30,419.19
Interest $109,529.24
Late Charge $7,383.78
Grand Total $347,799.11

If the Defendant or his heirs or assigns dges not pay U.S. Bank the amount adjudged due
and owing ($347,799.11) within

calculated in accordance with 14 M.R.S.A. § 6322, his remaining rights to possession of

days of the Judgment, as that time period is

the North Berwick Property shall terminate, U.S. Bank shall conduct a public sale of the
North Berwick Property in accordance with 14 M.R.S.A. § 6323, disbursing the proceeds
first to itself in the amount of $347,799.11 after deducting the expenses of the sale, with
any surplus to the Defendant, or his heirs or assigns, in accordance with 14 M.R.S.A. §
6324. U.S. Bank may not seek a deficiency judgment against the Defendant pursuant to

the Plaintiff’s waiver of deficiency at trial.

Pursuant to 14 M.R.S.A. § 2401(3)(F), the Clerk shall sign a certification after the appeal
period has expired, certifying that the applicable period has expired without action or that

the final judgment has been entered following appeal.
The amount due and owing is $347,799.11.

U.S. Bank Trust, N.A., as Trustee for LSF9 Master Participation Trust has first priority, in
the amount of $347,799.11, pursuant to the subject Note and Mortgage and there are no

parties in interest other than the Defendant, who has second priority.

The prejudgment interest rate is 5.62500%, see 14 M.R.S.A. § 1602-B, and the post-
judgment interest rate is 8.59%, see 14 M.R.S.A. § 1602-C.

The following information is included in this Judgment pursuant to 14 M.R.S.A. §
2401(3):
PLAINTIFF

PARTIES COUNSEL

U.S. Bank Trust, N.A., as John A. Doonan, Esq.
Trustee for LSF9 Master Reneau J. Longoria, Esq.
Participation Trust Doonan, Graves & Longoria, LLC
100 Cummings Center
Suite 225D
Beverly, MA 01915

 

DEFENDANT

d)

SO ORDERED.
Dated this 18th day of July, 2019.

Thomas A. True Pro Se
259 Valley Road
North Berwick, ME 03906

The docket number of this case is No. 2:19-cv-00105-LEW.

The Defendant, the only party to these proceedings besides U.S. Bank, received
notice of the proceedings in accordance with the applicable provisions of the

Federal Rules of Civil Procedure.

A description of the real estate involved, 259 Valley Road, North Berwick, ME
03906, is set forth in Exhibit A to the Judgment herein.

The street address of the real estate involved is 259 Valley Road, North Berwick,
ME 03906. The Mortgage was executed by the Defendant on March 24, 2009.
The book and page number of the Mortgage in the York County Registry of Deeds
is Book 15605, Page 157.

This judgment shall not create any personal liability on the part of the
Defendant but shall act solely as an in rem judgment against the property,
259 Valley Road, North Berwick, ME 03906.

 
    

 

E. WALKER
ISTRICT JUDGE
